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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWEST DIVISION


MARK SPLONSKOWSKI,
                            Plaintiff,

v.                                         Case No. 1:23-cv-123-DMT-CRH

ERIKA WHITE, in her official capacity as
State Election Director of North Dakota.

                            Defendant.




               STATEMENT OF INTEREST OF THE UNITED STATES
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                                         INTRODUCTION

          The United States respectfully submits this Statement of Interest pursuant to Local Rule

7.1(G)(1) and 28 U.S.C. § 517, which authorizes the Attorney General “to attend to the interests

of the United States in a suit pending in a court of the United States.” This case presents an

important question relating to enforcement of the Uniformed and Overseas Citizens Absentee

Voting Act of 1986 (“UOCAVA”), 52 U.S.C. §§ 20301-20311, as amended by the Military and

Overseas Voter Empowerment Act of 2009, Pub L. No. 111-84, Subtitle H, §§ 575-589, 123

Stat. 2190, 2318-2335 (2009) (“MOVE Act”). 1

          The Attorney General is charged with enforcing UOCAVA. 52 U.S.C. § 20307. The

United States submits this Statement of Interest to address legal questions regarding the post-

election counting of ballots cast on or before election day. Permitting the counting of otherwise

valid ballots cast on or before election day even though they are received later does not violate

federal statutes setting the day for federal elections. Indeed, this practice not only complies with

federal law but can be vital in ensuring that military and overseas voters are able to exercise their

right to vote. The United States expresses no view on any issues other than those set forth in this

brief.

                                PROCEDURAL BACKGROUND

          In North Dakota, mail ballots that are postmarked by the day before election day but

received after election day “must be tallied by the canvassing board of the county . . . at the time

the returns are canvassed.” N.D. Cent. Code § 16.1-07-09. The canvassing board meets on the

thirteenth day following election day. Id. § 16.1-15-17. North Dakota has separate statutes

establishing the same rule governing timeliness of UOCAVA ballots: “A valid military-overseas


1
    The provisions of UOCAVA were originally codified at 42 U.S.C. § 1973ff et seq.

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ballot . . . must be counted if it is delivered before the canvassing board meets to canvass the

returns.” Id. § 16.1-07-26. To be valid, a military-overseas ballot must be submitted for mailing

by 11:59 p.m. the day before election day. Id. § 16.1-07-24.

       Plaintiff Mark Splonskowski has brought suit, alleging that North Dakota’s ballot receipt

deadline for mail ballots 2 conflicts with 2 U.S.C. § 7 and 3 U.S.C. § 21 (“Federal Election Day

Statutes”), which set the federal election day for President, Vice President, and Congressional

Representatives on the Tuesday after the first Monday in November. 3 Compl. ¶¶ 45-50, ECF.

No. 1. Although Plaintiff does not specifically cite North Dakota Century Code §§ 16.1-07-24 or

16.1-07-26, the UOCAVA-specific ballot receipt statutes, his theory of the legality of the Federal

Election Day Statutes and relief sought could lead to nullification of both North Dakota’s ballot

receipt deadline statutes for all absentee ballots and its protections for UOCAVA ballots

specifically. See Compl. Prayer for Relief ¶¶ A-B (requesting this Court “[d]eclar[e] North

Dakota’s statutes allowing ballots to be received and counted after Election Day to violate

federal law,” and “[e]njoin[] Defendant from implementing and enforcing North Dakota’s laws

allowing for the receipt and tabulation of ballots after Election Day”). Defendant Erika White,

North Dakota State Election Director, moved to dismiss for lack of subject matter jurisdiction

and failure to state a claim. ECF No. 9, ECF No. 10. Proposed Intervenor-Defendant League of

Women Voters of North Dakota has moved to intervene and to file a proposed motion to dismiss.

ECF No. 13.




2
 The terms “mail ballot” and “absentee ballot” are used interchangeably for purposes of this
Statement of Interest.
3
 2 U.S.C. § 1, which Plaintiff also references, affixes federal election day for Senators to that for
Congressional Representatives.

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                                 STATUTORY BACKGROUND

       UOCAVA guarantees members of the uniformed services absent from their place of

residence due to service on active duty (and their spouses and dependents who are also absent

due to that active service) and United States citizens residing overseas the right “to vote by

absentee ballot in general, special, primary, and runoff elections for Federal office.” 52 U.S.C.

§ 20302(a)(1). UOCAVA reflects Congress’s determination that participation in federal

elections by military and overseas voters is a vital national interest. See Bush v. Hillsborough

Cnty. Canvassing Bd., 123 F. Supp. 2d 1305, 1307 (N.D. Fla. 2000) (“[Voting is] a sacred

element of the democratic process. For our citizens overseas, voting by absentee ballot may be

the only practical means to exercise that right. For the members of our military, the absentee

ballot is a cherished mechanism to voice their political opinion. . . . [It] should be provided no

matter what their location.”).

       The MOVE Act reaffirmed Congress’s commitment to ensuring that UOCAVA voters

have sufficient time to receive, mark, and return their ballots in time to be counted. See MOVE

Act, 156 Cong. Rec. 9762, 9766-67 (2010). To provide enough time for these voters to exercise

their right to vote, the MOVE Act amended UOCAVA to require that states transmit validly

requested ballots to UOCAVA voters at least 45 days before an election for federal office when

the request is received by that date. 52 U.S.C. § 20302(a)(8) (“Each state shall . . . transmit a

validly requested absentee ballot to an absent uniformed services voter or overseas voter . . . not

later than 45 days before the election.”); 52 U.S.C. § 20302(g)(1)(A) (“[T]he purpose [of the 45-

day requirement] is to allow absent uniformed services voters and overseas voters enough time to

vote.”); see also 156 Cong. Rec. at 9766-67 (discussing development of 45-day deadline based

on evidence before Congress).



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          Despite the adoption of the MOVE Act’s 45-day advance-transmission requirement for

UOCAVA ballots, military and overseas voters continue to face difficulties having sufficient

time to receive, mark, and return their ballots. North Dakota’s mail ballot receipt deadline for

UOCAVA voters helps ensure that otherwise valid ballots cast by the State’s military and

overseas voters are received in time to be counted, despite the logistical challenges that can often

result from transporting ballots from overseas or distant locations across the country.

                                          LEGAL STANDARD

          A court considering a motion to dismiss for failure to state a claim must accept “the

allegations contained in the complaint as true” and draw “all reasonable inferences in favor of

the nonmoving party.” Express Scripts, Inc. v. Aegon Direct Mktg. Servs., Inc., 516 F.3d 695,

698 (8th Cir. 2008). Such a motion should be granted only where the complaint does not contain

“enough facts to state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly,

550 U.S. 544, 570 (2007).

                                              ARGUMENT

   A. Counting ballots mailed on or before election day does not violate the Federal
      Election Day Statutes.

          The Federal Election Day Statutes, passed pursuant to Congress’s power under the

Elections Clause of the Constitution, do not conflict with North Dakota’s extended ballot receipt

deadline. Thus, North Dakota’s statute allowing the counting of ballots cast before election day

is not preempted by the Federal Election Day Statutes. See Foster v. Love, 522 U.S. 67, 69

(1997).

          “The Elections Clause of the Constitution, Art. 1, § 4, cl. 1 . . . is a default provision; it

invests the States with responsibility for the mechanics of congressional elections, but only so far

as Congress declines to preempt state legislative choices.” Foster, 522 U.S. at 69 (citation

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omitted). Put another way, “a state’s discretion and flexibility in establishing the time, place and

manner of electing its federal representatives has only one limitation: the state system cannot

directly conflict with federal election laws on the subject.” Voting Integrity Project, Inc. v.

Bomer, 199 F.3d 773, 775 (5th Cir. 2000); see also Foster, 522 U.S. at 68-69; Bost v. Ill. Bd. of

Elections, No. 22-cv-02754, 2023 WL 4817073, at *10 (N.D. Ill. July 26, 2023), appeal

docketed, No. 23-2644 (7th Cir. Aug. 21, 2023).

       Here, North Dakota’s ballot receipt deadline does not conflict with the Federal Election

Day Statutes. By enacting 2 U.S.C. §§ 1 and 7 and 3 U.S.C. § 21, Congress exercised its power

under the Elections Clause to set federal election day as the first Tuesday after the first Monday

in November. The text of the Federal Election Day Statutes thus establishes when election day is

and does not prevent acceptance of mail ballots that were postmarked before election day and

received before the county canvassing board meets on the 13th day following each election. 4 See


4
  Many states aside from North Dakota have adopted ballot receipt deadlines that extend for
some period after election day, either for mail voters generally or for some or all UOCAVA
voters in particular. See, e.g., Illinois—10 Ill. Comp. Stat. 5/19-8; id. 5/18A-15(a); Bost, 2023
WL 4817073, at *11 (mail ballot timely in Illinois if postmarked by election day and received
within the next 14 days, and this deadline does not violate Federal Election Day Statutes);
Alaska—Alaska Stat. § 15.20.081(e) (absentee mail ballot timely if received within 10 days of
election day and, if postmarked, must be postmarked on or before election day); California—Cal.
Elec. § 3020(b) (vote by mail ballot timely if postmarked on or before election day and received
within 7 days after election day); District of Columbia—D.C. Code § 1-1001.05(a)(10A)
(absentee ballot timely if postmarked on or before election day and received within 7 days after
election day); Kansas—Kan. Stat. Ann. § 25-1132 (mail ballot timely if postmarked on or before
election day and received within 3 days after election day); Massachusetts—Mass. Gen. Laws
ch. 54 § 93 (absentee ballot timely if postmarked on or before election day and received by 5:00
p.m. on the third day after election day); Mississippi—Miss. Code Ann. § 23-15-637(1)(a)
(absentee mail ballots must be postmarked by election day and received within the next 5 days);
Nevada—Nev. Rev. Stat. § 293.269921(1)(b) (mail ballot timely if postmarked on or before
election day and received by 5:00 p.m. on the fourth day after election day); New Jersey—N.J.
Stat. Ann. § 19:63-22(a) (mail ballot timely if postmarked on or before election day and received
within 144 hours (6 days) after polls close); New York—N.Y. Eln. Law § 8-412 (absentee ballot
timely if postmarked on or before election day and received within 7 days after election day);
West Virginia—W. Va. Code §§ 3-3-5(g), 3-6-9 (absentee ballot timely if postmarked on or


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also Bomer, 199 F.3d at 776 (explaining “the Supreme Court’s refusal to give a hyper-technical

meaning to ‘election’ and its refusal to ‘[pare] the term “election” in § 7 down to the definitional

bone’”). 5

        Plaintiff’s arguments to the contrary are incorrect. Plaintiff argues by implication first

that tallying ballots after election day that have been validly cast by mail before election day

constitutes prohibited post-election day voting, and second that the Federal Election Day Statutes

preempt post-election day ministerial actions related to the transmission, processing, and

counting of mail ballots.

        The Supreme Court has embraced a narrow view of which state laws the Federal Election

Day Statutes preempt, imposing only the limitation that an election may not conclude before

election day. Foster, 522 U.S. at 71, 72 n.4. In Foster, the Supreme Court considered

Louisiana’s practice of holding in October of federal election years an “open primary,” which

“provide[d] an opportunity to fill” Congressional offices “without any action to be taken on

federal election day.” Id. at 68-69. A candidate who received a majority of the votes in the open

primary was “elected.” Id. at 70. As a practical matter, a candidate was elected in over 80

percent of Louisiana’s open primaries. Id. The Court, holding that Louisiana’s practice violated

2 U.S.C. § 7, wrote: “[I]t is enough to resolve this case to say that a contested selection of

candidates for a congressional office that is concluded as a matter of law before the federal

election day” violates the Federal Election Day Statutes. Id. at 72.



before election day and received before board of canvassers convenes on the fifth day after
election day).
5
  The Fifth Circuit explained the legislative history of the Federal Election Day Statutes: “we
cannot conceive that Congress intended the federal election day statutes to have the effect of
impeding citizens in exercising their right to vote,” as “[t]he legislative history of the statutes
reflects Congress’s concern that citizens be able to exercise their right to vote.” Bomer, 199 F.3d
at 777 (citing Cong. Globe, 42d Cong., 2d Sess. 3407-3408 (1872)).
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       Under Foster, North Dakota’s post-election day ministerial actions related to the

transmission, processing, and counting of mail ballots are not preempted. So long as there

remains under state law an “act in law or in fact to take place on” election day, id., Foster does

not support the preemption of that state law. See id. at 71 (noting the legality of holding a run-

off election after federal election day); 2 U.S.C. § 8 (allowing states to prescribe procedures for

holding elections for vacancies “caused by a failure to elect at the time prescribed by law”).

Because in-person voting takes place on election day in North Dakota, Foster does not support

preemption of North Dakota’s absentee ballot receipt deadline. See N.D. Cent. Code § 16.1-13-

01.

       By necessity, calculating voters’ final selection can often stretch into the days following

election day, and courts have repeatedly rejected the argument that post-election ballot tallying

violates the Federal Election Day Statutes. As the court observed in Harris v. Florida Elections

Canvassing Comm’n, 122 F. Supp. 2d 1317 (N.D. Fla. 2000), “while it is possible for everyone

to vote on election day, it is highly unlikely that every precinct will be able to guarantee that its

votes would be counted by midnight on election day. This has been the case for years, yet votes

are not routinely being thrown out because they could not be counted on election day.” Id. at

1324-25, aff'd sub nom. Harris v. Fla. Elections Comm'n, 235 F.3d 578 (11th Cir. 2000)

(“Routinely, in every election, hundreds of thousands of votes are cast on election day but are not

counted until the next day or beyond.”).

       Casting a ballot is distinct from counting a ballot, and the Federal Election Day Statutes

permit post-election day counting. See, e.g., Bost, 2023 WL 4817073, at *11 (Illinois’ 14-day

post-election day ballot receipt deadline “operates harmoniously with the federal statutes that set




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the timing for federal elections” and “is facially compatible with the relevant federal statutes.”) 6;

Donald J. Trump for President, Inc. v. Way, 492 F. Supp. 3d 354, 372 (D.N.J. 2020) (“New

Jersey’s law permitting the canvassing of ballots lacking a postmark if they are received within

forty-eight hours of the closing of the polls is not preempted by the Federal Election Day Statutes

because the Federal Election Day Statutes are silent on methods of determining the timeliness of

ballots.”) 7.

         Tellingly, Plaintiff does not contend that North Dakota is prohibited from counting

ballots after election day that were received on or before that date. See Resp. at 21, ECF No. 17

(“At receipt, a qualified ballot becomes a vote that can be counted during canvassing.”); see also

id. at 22. Plaintiff’s contention thus hinges on the incorrect assumption that North Dakota cannot

define casting a ballot to include putting it in the mail. But “[p]roviding various options for the

time and place of depositing a completed ballot does not change the day for the election.”

Millsaps v. Thompson, 259 F.3d 535, 545 (6th Cir. 2001) (internal quotation marks omitted).

North Dakota law, like many other states, establishes a “mailbox rule” for absentee ballots: the

placement of a marked ballot in the mail for delivery to election officials is the act of voting.



6
  Plaintiff shortchanges Bost when he dismisses that case’s analysis as resting solely on the fact
that Congress has implicitly ratified post-election day counting of ballots. The Bost court also
correctly reasoned that the Federal Election Day Statutes are facially compatible with post-
election day receipt deadlines, which was the central merits question in Bost, as it is here. See id.
7
  Plaintiff’s argument that Way lacks force is puzzling. He states that “Way operated on an
expedited procedural track without the benefit of either time or discovery.” Resp. at 29, ECF
No. 17. But it is not clear what further information “time or discovery” would have yielded
about the legal question of whether counting ballots received in the mail after election day is
consistent with federal law. Way was a 39-page decision analyzing whether “New Jersey’s law
permitting the canvassing of [mail] ballots lacking a postmark if they are received within forty-
eight hours of the closing of the polls” was permissible under the Federal Election Day Statutes.
492 F. Supp. 3d at 371-72. That court’s conclusion that New Jersey’s law could stand, “because
the Federal Election Day Statutes are silent on methods of determining the timeliness of ballots,”
was well-reasoned and is directly relevant to the legal question in this case. Id. at 372.

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N.D. Cent. Code § 16.1-07-09. Further, Congress has “decline[d] to preempt state legislative

choices,” such as “methods of determining the timeliness of mail-in ballots.” Way, 492 F. Supp.

3d at 372 (quoting Foster, 522 U.S. at 69). In particular, “[d]espite [post-election day] ballot

receipt deadline statutes being in place for many years in many states, Congress has never

stepped in and altered the rules.” Bost, 2023 WL 4817073, at *11 (citations omitted). 8

       The North Dakota statutes at issue do not permit voters to cast votes after election day is

over. And tallying ballots cast by mail on or before election day does not constitute prohibited

post-election day voting. See Bost, 2023 WL 4817073, at *13 (“Plaintiffs consistently—and

wrongly—conflate ‘voting’ with ‘counting votes.’ . . . Under the Ballot Receipt Deadline

Statute, the voting deadline is unambiguous: the act of voting must take place on or before

Election Day. Counting those votes, however, may take place up to 14 days after Election Day

[under Illinois’ statute].”) (internal citations omitted). North Dakota law requires that voters

must mail in their absentee ballots before election day, preceding when any election results are

publicized. This system ensures that there is a level playing field for all voters and that no voters

have access to election results before casting their vote. Federal law does not preclude North

Dakota’s decision to count ballots validly cast by mail before election day but received and

tallied within the next 13 days.




8
  Maddox v. Board of State Canvassers, 149 P.2d 112, 115 (Mont. 1944), a 79-year-old Montana
Supreme Court case that Plaintiff cites, is inapposite to this case. There, the court stated that
“[n]othing short of the delivery of the ballot to the election officials for deposit in the ballot box
constitutes casting the ballot.” Resp. at 20-21 (quoting Maddox, 149 P.2d at 115). This was true
in Montana in 1944, when “the state law provide[d] for voting by ballots deposited with the
election officials.” Maddox, 149 P.2d at 115. By contrast, in this case, in 2023, North Dakota
law provides for voting by ballots deposited with election officials or deposited in the mail
before election day and received up to 13 days after election day. N.D. Cent. Code § 16.1-07-09.
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    B. North Dakota’s absentee ballot receipt deadline protects the voting rights of
       military and overseas voters.

        Plaintiff is wrong that this case could not impact UOCAVA voters, who generally rely on

absentee voting to cast a ballot and have their vote counted. 9 See United States v. Georgia, 892

F. Supp. 2d 1367, 1376-1377 (N.D. Ga. 2012); see also Resp. at 30. While his Complaint does

not expressly challenge North Dakota Century Code §§ 16.1-07-24 or 16.1-07-26, the State’s

UOCAVA-specific ballot receipt statutes, his theory of the legality of the Federal Election Day

Statutes and his relief sought could lead to nullification of both North Dakota’s ballot receipt

deadline statutes for all absentee ballots and for UOCAVA ballots. See Compl. Prayer for Relief

¶¶ A-B. And North Dakota’s absentee ballot receipt deadline postdating Election Day, like such

deadlines in other states, can be vital to ensuring that military and overseas voters can exercise

their right to vote.

        The history of congressional action reflects a strong commitment to ensuring military

service members and overseas citizens have access to the ballot box. “By passing UOCAVA,

and later by strengthening its protections, Congress unequivocally committed to eliminating

procedural roadblocks, which historically prevented thousands of service members from sharing




9
 The Uniform Military and Overseas Voters Act (UMOVA), a model statute drafted by the
Uniform Law Commission, suggests that states adopt various measures to protect UOCAVA
voters. As discussed above, North Dakota has already done so, in addition to its generally-
applicable mail ballot deadline. N.D. Cent. Code § 16.1-07-24; id. § 16.1-07-26. UMOVA
suggests an extended post-election day ballot receipt deadline, e.g., as the “latest deadline for
completing the county canvass or other local tabulation used to determine the official results.”
See UMOVA § 12. UMOVA also suggests that timeliness of voting a UOCAVA ballot can be
proven in several ways, e.g., evidence such as a postmark or certification by the voter under
penalty of perjury. See UMOVA §§ 10, 12. The Uniform Law Commission indicates that
UMOVA has been adopted by sixteen states, including North Dakota. See Military and
Overseas Voters Act, Unif. L. Comm’n, https://perma.cc/5AVP-QP7X (last visited August 30,
2023).


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in the most basic of democratic rights.” United States v. Alabama, 778 F.3d 926, 928 (11th Cir.

2015); see also 156 Cong. Rec. 9762 (2010) (statement of Senator Charles Schumer) (“On a

bipartisan basis, we agreed that it was unacceptable that in the age of global communications,

many active military, their families, and thousands of other Americans living, working, and

volunteering in foreign countries cannot cast a ballot at home while they are serving or living

overseas.”); 132 Cong. Rec. 13135 (1986) (statement of Sen. John Warner) (explaining

UOCAVA was meant to respond to “the problem of involuntary absentee voter

disenfranchisement” among military voters).

       Congress has taken action multiple times to address jurisdictions’ failure to transmit

UOCAVA ballots in sufficient time to allow voters to cast and return their ballot before the

deadline. Prior to the adoption of UOCAVA, the “single largest reason for disenfranchisement

of military and overseas voters [was] State failure to provide adequate ballot transit time.” H.R.

Rep. No. 99-765, at 10 (1986); see also 132 Cong. Rec. 13135 (1986) (statement of Sen. John

Warner) (“[I]n too many instances, absentee ballots either arrive too late or do not arrive at all”).

And even after UOCAVA was enacted, problems with delayed ballots continued. See 156 Cong.

Rec. 9763 (2010) (statement of Sen. Charles Schumer) (explaining that Congress relied on data

suggesting that “two out of every five military and overseas voters, 39 percent—who requested

an absentee ballot in 2008 received it from local election officials in the second half of October

or later—much too late for a ballot to be voted and mailed back in time to be counted on election

day”). 10 Congress passed the MOVE Act in 2009 to further address issues faced by UOCAVA


10
  According to the Federal Voting Assistance Program’s (FVAP) 2020 Report to Congress—the
most recent FVAP post-election report currently available—“there were 1,249,601 UOCAVA
ballots transmitted to voters from election officials. Election officials received 913,734 voted
ballots issued by states, and 33,027 [Federal Write-In Absentee Ballots].” 2020 Report to
Congress, FED. VOTING ASSISTANCE PROGRAM 55, https://perma.cc/CVH4-X97K. The median


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voters. See Doe v. Walker, 746 F. Supp. 2d 667, 670 (D. Md. 2010) (explaining that the MOVE

Act was enacted “in response to the widespread disenfranchisement of absent uniformed services

and overseas voters during the November 2008 general elections”). The MOVE Act, as

discussed, requires that jurisdictions transmit absentee ballots to UOCAVA voters at least 45

days before Election Day for federal office. See 52 U.S.C. § 20302(a)(8); Cong. Rec. 9766-67

(2010) (Statement of Sen. Schumer) (describing Congress’s adoption of the 45-day requirement

as an effort to provide enough time for UOCAVA voters to request, receive, and cast their ballots

in time for them to be counted).

       Both before and after Congress’ enactment of the MOVE Act, many military and

overseas voters have faced possible disenfranchisement because of late transmission of

UOCAVA ballots. When jurisdictions fail to send out UOCAVA ballots on time, the United

States Attorney General—who enforces UOCAVA, 52 U.S.C. § 20307—has repeatedly found it

necessary to act against jurisdictions to prevent military and overseas voters from being

disenfranchised in particular federal elections. In many of these cases, the remedy has involved

extending the post-election day receipt deadline for absentee ballots cast by military and

overseas voters on or before election day. See Bost, 2023 WL 4817073, at *11 (“[T]he United

States Attorney General often seeks court-ordered extensions of ballot receipt deadlines to ensure

that military voters are not disenfranchised.”); see also United States v. Alabama, 857 F. Supp.

2d 1236, 1242 (M.D. Ala. 2012); United States v. New York, No. 1:10-cv-1214, 2012 WL

254263, at *1-2 (N.D.N.Y. Jan. 27, 2012). The Bost court cited the Department of Justice’s




return rate as a percentage of UOCAVA ballots transmitted among the various states was 82.3
percent. Id. at 57. The Report notes that “[m]issing the deadline was the most common reason
for rejection [of returned ballots] . . . at rates of 44.7 percent for Uniformed Service members and
41.3 percent for overseas civilians.” Id.
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history of seeking extended ballot receipt deadlines as remedies for UOCAVA violations as

support for upholding Illinois’ post-election day ballot receipt deadline. Bost, 2023 WL

4817073, at *11.

        North Dakota has not been immune from the problem of late-transmitted UOCAVA

ballots. In 2010, for example, 13 North Dakota counties failed to send out UOCAVA ballots at

least 45 days before election day. See Letter from T. Christian Herren, Jr., Chief, Voting

Section, U.S. Dep’t of Just. to Secretary of State Alvin J. Jaeger (Oct. 8, 2010),

https://perma.cc/3LYB-LFQS. The United States then worked with the Secretary of State of

North Dakota to ensure that the counties’ post-election receipt deadlines for such ballots gave

voters a full 45 days to return their ballots. See id.

        The use of ballot receipt extensions as remedies for the late transmission of UOCAVA

ballots is longstanding. Indeed, the remedy’s use stretches back to the earliest cases brought by

the United States to enforce UOCAVA following the statute’s enactment in 1986. See Cases

Raising Claims Under the Uniformed and Overseas Citizen Absentee Voting Act, Dep’t of Just.,

(Mar. 24, 2022), https://perma.cc/7LZE-7Q7H; see, e.g., United States v. Idaho, No. 88-1187 (D.

Idaho May 21, 1988; entered May 23, 1988) (extending deadline by 10 days); United States v.

Oklahoma, No. CIV-88-1444 P (W.D. Okla. Aug. 22, 1988) (extending deadline by 10 days).

Since 2000, UOCAVA ballot receipt deadlines were extended by court-ordered consent decree,

court order, or settlement agreement, thereby allowing validly cast ballots to be received and

counted after election day, in approximately 30 of the United States’ cases and agreements. See

Cases Raising Claims. Many of these agreements or court orders have extended ballot receipt




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deadlines for UOCAVA voters for the number of days after election day commensurate with the

number of days that UOCAVA ballots were transmitted after the federal law deadline. 11

       In entering remedial orders for UOCAVA violations, courts have repeatedly recognized

that the public interest is served by ensuring that overseas or military “voters, many of whom

risk their lives at the request of their government, have the opportunity to vote.” Alabama, 857

F. Supp. 2d at 1242; see also New York, 2012 WL 254263, at *1 (“It is unconscionable to send

men and women overseas to preserve our democracy while simultaneously disenfranchising

them while they are gone.”); Georgia, 892 F. Supp. 2d at 1376-78 (concluding that the public

interest was served when ensuring UOCAVA voters could vote and stating that “[g]iven that

how and where our servicemembers conduct their lives is dictated by the government, their right

to vote is ‘their last vestige of expression and should be provided no matter what their location’”)

(citations omitted).

       The North Dakota ballot receipt law here provides a prophylactic protection for voters to

help ensure that they can receive, vote, and return their mail ballots in time for them to be

counted. North Dakotans in the military or who live overseas have consistently utilized absentee



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  See, e.g., United States v. West Virginia, No. 2:14-cv-27456 (S.D. W.Va. Nov. 3, 2014)
(extending ballot receipt deadline by 7 days); United States v. Wisconsin, No. 3:12-cv-00197
(W.D. Wis. Mar. 23, 2012) (extending deadline by number of days of late transmission); United
States v. New York, No. 1:09-cv-00335 (N.D.N.Y. Mar. 26, 2009) (extending deadline by 6
days); United States v. Georgia, No. 1:04-cv-02040 (N.D. Ga. July 16, 2004) (extending
deadline by 3 business days); United States v. New Jersey, No. 3:92-cv-2403 (D.N.J. June 2,
1992) (extending deadline by 14 days); United States v. Michigan, No. 1:92-cv-00529 (W.D.
Mich. Aug. 3, 1992) (extending deadline by 20 days); United States v. New Jersey, No. 3:90-cv-
02357 (D.N.J. June 5, 1990) (extending deadline by 10 days); United States v. Colorado, No.
1:90-cv-01419 (D. Colo. Aug. 10, 1990) (extending deadline by 10 days); United States v.
Michigan, No. L 88-208 CA5 (W.D. Mich. July 29, 1988) (extending deadline by 10 days);
United States v. Idaho, No. 88-1187 (D. Idaho May 21, 1988; entered May 23, 1988) (extending
deadline by 10 days); United States v. Oklahoma, No. CIV-88-1444 P (W.D. Okla. Aug. 22,
1988) (extending deadline by 10 days).


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voting. According to the U.S. Election Assistance Commission, 1,900 North Dakotans in the

2020 general election and 433 North Dakotans in the 2022 general election were sent a

UOCAVA ballot. See U.S. Election Assistance Comm’n, Election Administration and Voting

Survey 2020 Comprehensive Report 198 (Aug. 2021), https://perma.cc/E4KH-EDXP; U.S.

Election Assistance Comm’n, Election Administration and Voting Survey 2022 Comprehensive

Report 219 (June 2023), https://perma.cc/PDZ7-S692.

       The North Dakota ballot receipt law helps ensure that these voters’ ballots are counted.

The law is not dissimilar to the statutes adopted by other states, as set forth above, and the

remedies proposed and ordered by federal courts in UOCAVA cases brought by the United

States to ensure that military and overseas voters can exercise their right to vote.

                                          CONCLUSION

       For the foregoing reasons, the United States submits that North Dakota’s post-election

day ballot receipt deadline is consistent with the Federal Election Day Statutes. Such post-

election day ballot receipt deadlines are a common remedial measure that the United States has

sought and obtained in UOCAVA cases to ensure that military and overseas voters have enough

time to receive, mark, and return their ballots in time for them to be counted.




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Dated: September 11, 2023

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                                CERTIFICATE OF SERVICE

        I hereby certify that on September 11, 2023, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notice of this filing to all counsel
of record.


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